      Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 1 of 34



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UNITED STATES FOREST SERVICE

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION


 FOREST SERVICE EMPLOYEES FOR
 ENVIRONMENTAL ETHICS,                     No. 9:22-CV-00168-DLC

           Plaintiff,
                                           DEFENDANT UNITED STATES
     v.                                    FOREST SERVICE’S
                                           RESPONSE IN OPPOSITION TO
 UNITED STATES FOREST SERVICE,             PLAINTIFF’S MOTION FOR
                                           SUMMARY JUDGMENT
           Defendant.
          Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 2 of 34



                                         TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................... ii
INTRODUCTION .....................................................................................................1
BACKGROUND .......................................................................................................4
  I.      Clean Water Act .............................................................................................4
          A. Discharge of Pollutants .............................................................................4
          B. Citizen Suits ..............................................................................................6
  II.     Factual Background ........................................................................................6
  III. Procedural Background ................................................................................10
SUMMARY JUDGMENT STANDARD ...............................................................10
ARGUMENT ...........................................................................................................11
  I.      FSEEE Has Not Established Standing to Enforce Alleged Statutory
           Violations for Discharges to Waters of the United States Other than
           California’s Sespe Creek. ............................................................................11
  II.     FSEEE Has Not Demonstrated Entitlement to a Prohibitory Injunction. ....13
          A. The Forest Service’s Acknowledgement of Fire Retardant Discharges to
             Sespe Creek or any other Waters Is Not Sufficient, by Itself, to Support
             the Overbroad Injunctive Relief FSEEE Seeks. .....................................13
          B. FSEEE Has Not Established a Prima Facie Case for the Injunctive Relief
             It Seeks. ...................................................................................................16
          C. FSEEE Has Not Established an Entitlement to a
             Nationwide Injunction. ............................................................................17
          D. Even if FSEEE Had Shown Potential Entitlement to an Injunction,
             Summary Judgment Should Be Denied Because the Nature and Scope of
             Appropriate Relief Turns on Genuinely Disputed Material Facts. .........21
CONCLUSION ........................................................................................................28




                                                             i
          Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 3 of 34



                                     TABLE OF AUTHORITIES


Cases

Adickes v. S.H. Kress & Co.,
  398 U.S. 144 (1970) ....................................................................................... 11, 17
Bresgal v. Brock,
  843 F.2d 1163 (9th Cir. 1987) ..............................................................................17
C.A.R. Transp. Brokerage Co. v. Darden Rests., Inc.,
  213 F.3d 474 (9th Cir. 2000) ................................................................................10
California v. Azar,
  911 F.3d 558 (9th Cir. 2018) ......................................................................... 18, 20
California v. Texas,
  141 S. Ct. 2104 (2021) ..........................................................................................18
Celotex Corp. v. Catrett,
  477 U.S. 317 (1986) ..............................................................................................10
City and County of San Francisco v. Trump,
  897 F.3d 1225 (9th Cir. 2018) ................................................................. 17, 18, 19
Dep’t of Homeland Sec. v. New York,
  140 S. Ct. 599 (2020) ............................................................................................18
E. Bay Sanctuary Covenant v. Barr,
  934 F.3d 1026 (9th Cir. 2020) ..............................................................................19
Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.,
  528 U.S. 167 (2000) ..............................................................................................11
Gill v. Whitford,
  138 S. Ct. 1916 (2018) ..........................................................................................12
Los Angeles Haven Hospice v. Sebelius,
  638 F.3d 644 (9th Cir. 2011) ................................................................................19
Lujan v. Defenders of Wildlife,
  504 U.S. 555 (1992) ..............................................................................................11
Monsanto Co. v. Geerston Seed Farms,
  561 U.S. 139 (2010) ..............................................................................................15
N. Cheyenne Tribe v. Norton,
  503 F.3d 836 (9th Cir. 2007) ................................................................................15
Price v. City of Stockton,
  390 F.3d 1105 (9th Cir. 2004) ..............................................................................18
Town of Chester v. v. Laroe Estates, Inc.,
  137 S. Ct. 1645 (2017) ................................................................................... 12, 21


                                                          ii
           Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 4 of 34



Wash. Env’t Council v. Belin,
 732 F.3d 1131 (9th Cir. 2013) ..............................................................................11
Weinberger v. Romero-Barcelo,
 456 U.S. 305 (1982) ....................................................................................... 14, 15

Statutes

33 U.S.C. § 1311(a) ............................................................................................ 6, 12
33 U.S.C. § 1311(b)(1)(C) .........................................................................................5
33 U.S.C. § 1342 ........................................................................................................5
33 U.S.C. § 1342(a)(1) ...............................................................................................5
33 U.S.C. § 1342(b) ...................................................................................................5
33 U.S.C. § 1342(b)(3)...............................................................................................5
33 U.S.C. § 1362(7) ...................................................................................................4
33 U.S.C. § 1362(12) .................................................................................................4
33 U.S.C. § 1365(a)(1) ...............................................................................................6
33 U.S.C. § 1365(f) ....................................................................................................6
33 U.S.C. § 1365(f)(1) ........................................................................................ 2, 12
33 U.S.C. § 1365(g) ...............................................................................................2, 6

Rules

Fed. R. Civ. P. 56(a).................................................................................................10

Regulations

33 C.F.R. § 328.3(a)...................................................................................................4
40 C.F.R. § 122.28 .....................................................................................................6

Other Authorities

National Wild and Scenic Rivers System, Sespe Creek, California,
 https://www.rivers.gov/rivers/sespe.php (last visited Feb. 16, 2023) ..................12




                                                           iii
        Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 5 of 34



                                 INTRODUCTION

      The Forest Service cannot undertake its critically important firefighting

activities while also guaranteeing that absolutely no aerial discharges of fire

retardant will drop into waters. The Forest Service aerially discharges fire

retardant to protect human life, public safety, private property, and public lands

and resources. In rare cases, the aerial discharge of fire retardant drops into waters.

From 2012 through 2019, less than one percent of retardant drops reached waters

even in part.

      The Forest Service has commenced the process to obtain Clean Water Act

permits that will authorize the discharge of aerial fire retardant into waters,

including entering a Federal Facilities Compliance Agreement with the United

States Environmental Protection Agency (“EPA”). The process to obtain Federal,

and as many as 47 State, Clean Water Act permits to cover future potential fire

retardant discharges will likely take approximately two and a half years to

complete. Consequently, the Forest Service anticipates that it will have to

discharge fire retardant to waters in limited circumstances until 2025 without a

permit. However, these potential future Clean Water Act violations do not

themselves provide a basis for the finding of liability or the broad injunctive relief

FSEEE seeks.




                                           1
        Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 6 of 34



      Notwithstanding the styling of its complaint, Forest Service Employees for

Environmental Ethics’ (“FSEEE”) has not pleaded only a single claim alleging a

particular “unlawful act,” i.e., a discharge without a permit, into specific waters.

33 U.S.C. § 1365(f)(1). Rather, FSEEE alleges hundreds of discharges into waters

in national forests nationwide. To pursue relief pertaining to each of those

discharges, FSEEE must establish that it “is or may be adversely affected” by, id.

§ 1365(g), and has Article III standing to enforce against, discharges in every

water. At summary judgment, FSEEE has not met its burden to show with

specific, undisputed facts that the organization or its members suffer concrete and

particularized injury from each of the myriad discharges challenged here. FSEEE

offered no specific evidence of injury to itself or its members at any location other

than Sespe Creek in California’s Los Padres National Forest.

      The Forest Service does not dispute that discharges of fire retardant to Sespe

Creek without a Clean Water Act permit are unlawful. But FSEEE requests more

than simply a declaratory judgment; it seeks a prohibitory injunction.

      Before issuing an injunction addressing discharges to Sespe Creek or any

other discharges for which this Court finds that FSEEE establishes standing, this

Court must first balance any demonstrated hardships to FSEEE associated with the

infrequent, unpermitted discharges of fire retardant to waters against the hardships

to the Forest Service and public lands if the Forest Service cannot fight fires with

                                           2
          Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 7 of 34



the aid of aerial discharges of retardant. The Court must also evaluate the public

interest in effectively fighting fires with retardant in this era of more frequent,

more severe fires in the United States, even if occasional discharges into waters

occur.

         FSEEE’s filings in support of its motion for summary judgment do not once

mention the standard for obtaining a permanent injunction, much less meet

FSEEE’s burden of establishing all four elements of the injunction standard.

Specifically, the aesthetic and recreational harm to one of FSEEE’s members does

not warrant an injunction against Forest Service discharges into Sespe Creek for

firefighting purposes. More broadly, FSEEE completely failed to show that the

balance of hardships between FSEEE and the Forest Service supports the

expansive prohibitory injunction that FSEEE seeks. FSEEE ignored the need to

drop fire retardant to protect public health and safety, to save lives or prevent

injuries to firefighters. FSEEE similarly completely failed to show that the public

interest would not be disserved by its requested injunction. This failure of FSEEE

to proffer a prima facie case for a permanent injunction requires denial of its

motion for summary judgment regarding injunctive relief in its entirety.

         At minimum, FSEEE has failed to show that a nationwide injunction is

necessary to provide relief for the limited injury it has shown.




                                           3
        Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 8 of 34



      In addition, genuine disputes as to facts material to the injunction FSEEE

seeks preclude an award of summary judgment to FSEEE on remedy at this stage

of the case.

      Finally, the recently entered EPA Federal Facility Compliance Agreement

places the Forest Service on a path to compliance with the Clean Water Act. The

Court should not award FSEEE any injunction on summary judgment.

                                  BACKGROUND

I.    Clean Water Act

      A. Discharge of Pollutants

      The Clean Water Act provides that “the discharge of any pollutant by any

person shall be unlawful” except in compliance with the Act’s terms. 33 U.S.C.

§ 1311(a).

      The Clean Water Act defines “discharge of a pollutant” as “any addition of

any pollutant to navigable waters from any point source . . . .” 33 U.S.C.

§ 1362(12). Navigable waters are defined as “waters of the United States” and

include, in addition to traditionally navigable waters, certain tributaries that flow

directly or indirectly into navigable waters and certain wetlands adjacent to

navigable waters and their tributaries. 33 U.S.C. § 1362(7); 33 C.F.R. § 328.3(a).

      The primary way that a person may discharge a pollutant without violating

the Clean Water Act’s prohibition is to obtain a permit pursuant to Clean Water


                                           4
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 9 of 34



Act Section 402, 33 U.S.C. § 1342. In Section 402, Congress established the

Clean Water Act’s National Pollutant Discharge Elimination System (“NPDES”).

Under Section 402(a), EPA “may, after opportunity for public hearing issue a

permit for the discharge of any pollutant, or combination of pollutants,

notwithstanding section 1311(a)” upon meeting certain conditions required by the

Act. 33 U.S.C. § 1342(a)(1).

      Congress authorized EPA to approve qualifying applications from States to

administer NPDES permitting programs for discharges into waters within their

jurisdiction. 33 U.S.C. § 1342(b). In accordance with that provision, EPA has

approved 47 States, including California, and the U.S. Virgin Islands to administer

the NPDES permit programs under state or territorial law. Declaration of

Christopher Kloss, Exhibit A, ¶ 4. In the handful of remaining States and

Territories and in Indian country, EPA administers the NPDES program. Id. ¶ 3.

EPA is also the permitting authority for discharges on Federal lands in Colorado,

Delaware, Vermont, and Washington states. Id. NPDES permits must contain

technology-based limits (which EPA can standardize through rulemaking) and

“any more stringent limitation, including those necessary to meet water quality

standards.” 33 U.S.C. § 1311(b)(1)(C). The permitting agency must publish

notice of the draft permit and solicit and respond to public comments before

issuing a final NPDES permit. 33 U.S.C. § 1342(b)(3).

                                         5
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 10 of 34



      Where a large number of similarly situated discharges exist, EPA and States

may issue general permits covering a category of dischargers in lieu of issuing

individual permits to each discharger. See 40 C.F.R. § 122.28.

      B. Citizen Suits

      A person with “an interest which is or may be adversely affected,” 33 U.S.C.

§ 1365(g), may sue another person—including the United States and its agencies—

that is “alleged to be in violation of . . . an effluent standard or limitation under [the

Act].” Id. § 1365(a)(1). As relevant here, the term “effluent standard or

limitation” includes “an unlawful act under [33 U.S.C. § 1311(a)],” the

foundational provision of the Act that prohibits discharge of a pollutant into waters

of the United States without a permit. 33 U.S.C. § 1365(f).

II.   Factual Background

      Aerial application of fire retardant is part of the Forest Service’s integrated

firefighting strategy. Declaration of Alex Robertson, Exhibit B, ¶¶ 4–16. Fire

retardant is applied aerially in a range of situations depending on access,

topography, fuel condition, available resources, time of year, expected weather,

and other factors. Id. ¶ 8. High fire intensity and fires that spread rapidly inhibit

the Forest Service’s ability to fight wildland fires safely with ground-based forces

alone. Id. ¶ 4. In addition, remote locations and rugged topography that make

access difficult will often delay the deployment of ground forces for fire


                                            6
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 11 of 34



suppression efforts and necessitate the use of aerial application of fire retardant.

Id. ¶ 8. Fire retardant is intended to slow the rate of fire spread by cooling and

coating fuels, depleting the fire of oxygen, and slowing the rate of fuel combustion

as the retardant’s inorganic salts change how fuels burn. Id. ¶ 7. Fire retardant

generally slows the rate of fire spread and its intensity but typically does not put

the fire out. Id. ¶ 5.

       In October 2011, the Forest Service completed an Environmental Impact

Statement (“EIS”) to assess the environmental and economic impacts of

nationwide aerial application of fire retardant on national forest system land. Doc.

8-1. The Forest Service prepared the EIS to “address the need for the continued

use of aerially applied fire retardant as a firefighting tool because it reduces fire

intensities and rates of spread and increases the ability to safely fight wildland fires

with ground-based forces.” Id. at 14 of 562. The Forest Service balanced the need

to protect critical or sensitive resources with the need to use fire retardant as an

effective firefighting tool to protect life and property from wildfire. Id.

       In December 2011, the Forest Service issued its Record of Decision for the

nationwide application of fire retardant. Declaration of Jerome E. Perez, Exhibit

C, ¶ 14; see Doc. 8-2. The Record of Decision approved the use of aerially applied

fire retardant and implemented an adaptive management approach designed to

protect resources and continue to improve the documentation of retardant effects

                                           7
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 12 of 34



through reporting, monitoring, and application coordination. Perez Decl. ¶ 14;

Doc. 8-2 at 8–9 of 74. The Record of Decision does not allow the use of aerial fire

retardant in designated avoidance areas for threatened and endangered species or in

waterways.1 Perez Decl. ¶ 14. Aerial application of fire retardant is also to be

avoided within 300-foot buffers adjacent to waterways. Perez Decl. ¶ 15. This

directive must be implemented except in cases where human life or public safety is

threatened and retardant use within avoidance areas could be reasonably expected

to alleviate that threat. Id. ¶ 14.

       In accordance with the Record of Decision, the Forest Service has monitored

and reported the use of fire retardant since 2012. Declaration of Laura Conway,

Exhibit D, ¶ 4. During the years 2012 through 2019, the Forest Service aerially

dropped approximately 102,362,031 gallons of fire retardant on National Forest

System lands. Id. Using an average of 1,800 gallons per drop, this is estimated to

be 56,868 drops. Id. During the same period, 457 intrusions into avoidance areas

were reported on National Forest System lands. Id. ¶ 8. Of those, 213 intrusions


1
       The Forest Service’s use of the terms “waterways” or “waters” in the context
of aerial discharges of retardant is not the same as the definition of “waters of the
United States” that are regulated under the Clean Water Act. See Perez Decl., Ex.
C, ¶ 15 (identifying waterways for purposes of fire-retardant policy as including
perennial streams, intermittent streams, lakes, ponds, identified springs, reservoirs,
and vernal pools); Conway Decl., Ex. D, ¶ 6. As a result, not all identified drops of
retardants may constitute a discharge of a pollutant into waters of the United States
regulated under the Clean Water Act, or thereby amount to a Clean Water Act
violation.
                                            8
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 13 of 34



landed partially in water, either in accordance with the exception to protect human

life or public safety (23 intrusions) or due to accident (190 intrusions). Id. Thus,

for the approximately 56,868 drops, and assuming an average drop is 1,800

gallons, there was one intrusion partially into water for every 267 drops made

during that time. Id. This amounts to less than one percent of drops.2 The only

way to prevent entirely accidental discharges of retardants to waters is to prohibit

their use entirely. Perez Decl., Ex. C, ¶ 17.

      On February 16, 2023, the Forest Service and EPA entered into a Federal

Facility Compliance Agreement. Id. ¶ 22, and Attachment C-1. The purpose of

this Compliance Agreement is to address the Forest Service’s discharge of

pollutants during aerial fire retardant applications and to require the Forest Service

to obtain NPDES permit coverage for discharges to waters. Id., Attachment C-1 at

1. The ultimate objective of the obligations in the Compliance Agreement is to

cause the Forest Service to come into and remain in full compliance with all

applicable Federal, state, and local laws governing the discharge of pollutants into

waters of the United States. Id. Among other provisions, the Compliance



2
       An intrusion can consist of more than one drop at a given site. Doc. 8-4 at
83 of 171 nn.5, 6. The data presented in Appendix D to the draft Supplemental
EIS for 2012–2019 shows that, on average, an intrusion includes less than two
drops. Id. at 94 of 171 (459 intrusion reports identifying 853 drops). Even
assuming an average of two drops per intrusion during this period, two drops
partially into water for every 267 drops is 0.74 percent of retardant drops.
                                           9
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 14 of 34



Agreement requires the Forest Service to use aerially-delivered fire retardant

according to the direction in the 2011 Record of Decision until the Forest Service

obtains NPDES permit coverage. Id. at 5.

III.   Procedural Background

       FSEEE’s complaint invokes only the Clean Water Act’s citizen suit

provision. Doc. 1, ¶ 4. FSEEE filed one declaration, on December 8, 2022,

seeking to show that it has one member adversely affected by Forest Service

discharges of fire retardant to Sespe Creek, in California. Doc. 4. Although the

complaint references several actions taken by the Forest Service relating to aerial

fire retardant, FSEEE does not challenge or seek to compel “agency action” within

the meaning of the Administrative Procedure Act. See Doc. 1.

                     SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate where the moving party demonstrates the

absence of a genuine issue of material fact and entitlement to judgment as a matter

of law. See Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322-23

(1986). The party seeking summary judgment always bears the initial burden of

establishing the absence of a genuine issue of material fact. Celotex, 477 U.S. at

323. When the moving party bears the burden of proof, it must come forward with

evidence that would entitle it to a directed verdict if the evidence were

uncontroverted at trial. C.A.R. Transp. Brokerage Co. v. Darden Rests., Inc., 213


                                          10
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 15 of 34



F.3d 474, 480 (9th Cir. 2000). If the moving party fails to meet its initial burden,

“summary judgment must be denied even if no opposing evidentiary matter is

presented.” Adickes v. S.H. Kress & Co., 398 U.S. 144, 160 (1970) (internal

quotation marks omitted) (emphasis added).

                                   ARGUMENT

I.    FSEEE Has Not Established Standing to Enforce Alleged Statutory
      Violations for Discharges to Waters of the United States Other than
      California’s Sespe Creek.

      A federal court may entertain a suit only by a plaintiff who establishes

Article III standing, including the foremost requirement of injury in fact. As

articulated by the Supreme Court, “environmental plaintiffs adequately allege

injury in fact when they aver that they use the affected area and are persons ‘for

whom the aesthetic and recreational values of the area will be lessened’ by the

challenged activity.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC),

Inc., 528 U.S. 167, 183 (2000), (emphasis added). At the summary judgment

stage, a plaintiff must “set forth by affidavit or other evidence specific facts, which

for purposes of the summary judgment motion will be taken to be true.” Wash.

Env’t Council v. Belin, 732 F.3d 1131, 1139 (9th Cir. 2013) (quoting Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992)) (emphasis added). “A plaintiff’s

basis for standing must affirmatively appear in the record.” Id.




                                          11
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 16 of 34



      A plaintiff must establish standing for each claim asserted. See Town of

Chester v. v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017). Under the Clean

Water Act’s citizen suit provision, each alleged “unlawful act” under 33 U.S.C.

§ 1311(a)—discharging a pollutant to waters of the United States without a

permit—gives rise to a distinct claim. See 33 U.S.C. § 1365(f)(1). Consequently,

standing to sue based on discharges into one water does not provide standing to

sue based on discharges into any other waters.

      FSEEE submitted only one declaration in support of its standing. One of

FSEEE’s members, Mr. Peter Deneen, asserts that discharges of fire retardant to

Sespe Creek near Ojai, California, harmed his use and enjoyment of Sespe Creek.3

Doc. 4 at ¶¶ 6–7. This is the only evidence presented setting forth specific facts

relating injury attributable to a discharge of fire retardant to a specific water

body⸺or even a specific national forest (in this case, Los Padres National Forest).

The geographic scope of the injury to FSEEE established by the evidence

presented does not extend beyond Sespe Creek in California.

      FSEEE does not demonstrate the requisite “concrete and particularized”

injury in fact, Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018) (citation omitted), to



3
       Mr. Deneen refers to the waterbody as the Sespe River, but its correct name
is Sespe Creek. National Wild and Scenic Rivers System, Sespe Creek, California,
https://www.rivers.gov/rivers/sespe.php (last visited Feb. 16, 2023).


                                          12
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 17 of 34



establish standing under Article III to enforce alleged violations of the Clean Water

Act at the thousands of other waters in the many national forest units in this

country that in the past were or may in the future be subject to fire retardant drops.

The Court therefore cannot grant FSEEE summary judgment or award any relief—

declaratory or otherwise—with regard to Forest Service discharges in any waters

of the United States other than Sespe Creek (or, at most, Los Padres National

Forest).

II.   FSEEE Has Not Demonstrated Entitlement to a Prohibitory Injunction.

      A. The Forest Service’s Acknowledgement of Fire Retardant Discharges
         to Sespe Creek or any other Waters Is Not Sufficient, by Itself, to
         Support the Overbroad Injunctive Relief FSEEE Seeks.

      The Forest Service has in the past discharged fire retardant from aircraft into

waters of the United States without a Clean Water Act permit in certain limited

circumstances. The Forest Service has intentionally dropped retardant into water

where public health and safety require its use to prevent the loss of life or injury to

firefighters or members of the public. The Forest Service has also unintentionally

dropped retardant into water. The Forest Service will likely continue to discharge

fire retardant into waters without a permit in these limited circumstances during the

next couple of years. Nonetheless, these facts alone do not support the imposition

of an injunction prohibiting the Forest Service from discharging fire retardant into

waters of the United States without a permit. This Court must weigh the traditional


                                          13
          Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 18 of 34



factors for issuance of a permanent injunction, including balancing the hardship to

FSEEE and to the Forest Service and assessing the public interest.

      The Supreme Court held, in Weinberger v. Romero-Barcelo, 456 U.S. 305

(1982), that the Clean Water Act does not require a district court to enjoin all

discharges of pollutants that fail to comply with the Act’s permit requirements. In

Romero-Barcelo, the plaintiffs enforced against the Navy’s discharge of ordnance

into waters near Puerto Rico without a Clean Water Act permit. Id. at 307–08.

The district court found the Navy liable and ordered the Navy to obtain a permit,

but it did not enjoin military operations pending consideration of the permit

application. Id. at 309–10. The court of appeals reversed and instructed the

district court to order the Navy to cease the violation until it obtained a permit. Id.

at 310.

      The Supreme Court overturned the decision of the court of appeals. It

concluded that the Clean Water Act does not foreclose the exercise of a district

court’s discretion to fashion an equitable remedy to address violations of the Clean

Water Act arising from discharges without a permit. Id. at 320. In exercising its

discretion, courts should pay particular regard for the public consequences in

employing the extraordinary remedy of injunction. Id. at 312. The Court

determined that the Clean Water Act’s statutory scheme as a whole suggests that

Congress did not intend to deny courts their traditional equitable discretion to

                                          14
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 19 of 34



balance the equities and fashion remedies other than an immediate prohibitory

injunction. Id. at 316. Therefore, the Supreme Court reversed the court of appeals

and remanded the case so that the district court could employ its traditional

equitable discretion to fashion a remedy designed to secure prompt compliance

with the Clean Water Act. Id. at 320.

      For these reasons, this Court must apply the traditional equitable four-factor

test associated with the issuance of a permanent injunction. See Monsanto Co. v.

Geerston Seed Farms, 561 U.S. 139, 156–57 (2010). Permanent injunctive relief is

appropriate when the party seeking the injunction demonstrates:

      (1) that it has suffered an irreparable injury;

      (2) that remedies available at law, such as monetary damages, are inadequate

      to compensate for that injury;

      (3) that, considering the balance of hardships between the plaintiff and

      defendant, a remedy in equity is warranted; and

      (4) that the public interest would not be disserved by a permanent injunction.

Id.; N. Cheyenne Tribe v. Norton, 503 F.3d 836, 843 (9th Cir. 2007). When

assessing appropriate permanent injunctive relief, “the court must balance the

equities between the parties and give due regard to the public interest.” N.

Cheyenne, 503 F.3d at 843. Evidence of discharges alone is not sufficient to

support the requested injunction.

                                          15
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 20 of 34



      B. FSEEE Has Not Established a Prima Facie Case for the Injunctive
         Relief It Seeks.

      FSEEE’s motion and supporting materials do not explicitly address any of

the four elements on which it has the burden of production and persuasion to

obtain a permanent injunction. Because FSEEE does not meet its burden of proof,

the Court must deny FSEEE’s motion for summary judgment for this reason alone.

      As discussed above, supra at 12, the only injury FSEEE supports with

evidence is one member’s harm associated with discharges of fire retardant into

Sespe Creek. But FSEEE does not argue that this injury was irreparable or that

remedies at law are inadequate to meet the first two requirements of the injunction

standard.

      Neither of the two arguments FSEEE makes in support of its request for a

prohibitory injunction is legally sufficient to enjoin application of fire retardants to

waters of the United States. First, FSEEE argues that the Forest Service’s past

discharges of fire retardant into waters together with its intention to continue

discharges in certain limited circumstances until a permit is issued requires

issuance of an injunction. FSEEE Brief, Doc. 7, at 7–8. However, as explained

above, supra at 14-15, the Supreme Court has established that the traditional four-

factor test applies, as the Clean Water Act does not require a district court to enjoin

discharges of fire retardant that do not comply with the Act’s permit requirements.

      Second, FSEEE presents cursory evidence of harm to aquatic species

                                           16
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 21 of 34



attributable to fire retardant entering a waterway. FSEEE Brief at 8. However,

FSEEE makes no attempt to balance any hardship to FSEEE against the obvious

and severe hardship to the Forest Service and the public lands it manages if the

Court were to issue FSEEE’s desired injunction. Remarkably, FSEEE does not

even mention the public interest in its argument for an injunction that would

seriously impact the manner the Forest Service fights the more frequent and

intense fires occurring on the public lands primarily in the Western United States.

See Perez Decl., Ex. C, ¶¶ 6, 7, 8 (discussing the increase in the number, size and

damage of wildfires).

      Because FSEEE bears the burden of establishing each element necessary to

support issuance of a prohibitory injunction and it has not met its initial burden, the

Court must deny summary judgment on FSEEE’s requested injunction. Adickes,

398 U.S. at 160.

      C. FSEEE Has Not Established an Entitlement to a Nationwide
         Injunction.

      An injunction must be “narrowly tailored to remedy the specific harm

shown.” City and County of San Francisco v. Trump, 897 F.3d 1225, 1244–45

(9th Cir. 2018) (quoting Bresgal v. Brock, 843 F.2d 1163, 1170 (9th Cir. 1987)).

Here, FSEEE submitted evidence of harm only as to one of its members, who

identifies the discharge of fire retardant to one water body in California that

allegedly caused him harm. In the context of this citizen suit in which the plaintiff

                                          17
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 22 of 34



must allege specific unlawful discharges,4 this evidence is insufficient to support

any relief, much less an injunction that would bar the discharge of fire retardant by

the Forest Service to waters in all national forests throughout the country.

      Remedies operate with respect to specific parties. California v. Texas, 141

S. Ct. 2104, 2115 (2021). Beyond examining the merits of a party’s arguments,

this Court must separately analyze whether nationwide relief is “necessary to give

prevailing parties the relief to which they are entitled” before issuing such an

injunction. California v. Azar, 911 F.3d 558, 582 (9th Cir. 2018); cf. Dep’t of

Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J. concurring)

(“Universal injunctions have little basis in traditional equitable practice.”). An

injunction must be no broader and no more burdensome to the defendant than

necessary. City and County of San Francisco, 897 F.3d at 1244-45. If awarded at

all, an injunction must be narrowly tailored to remedy only the specific harms

shown by the plaintiff, rather than ‘to enjoin all possible breaches of the law.’”

Price v. City of Stockton, 390 F.3d 1105, 1117 (9th Cir. 2004) (internal quotations

omitted).

      The party seeking an injunction must present evidence that is sufficient to

support the scope of the desired injunction. In City and County of San Francisco,


4
      FSEEE is not asserting a claim under the Administrative Procedure Act that
challenges a final agency action. Doc. 1. The only claim for relief in the
complaint is an enforcement claim involving an alleged statutory violation
involving unpermitted discharges of a pollutant.
                                        18
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 23 of 34



the Ninth Circuit reviewed a nationwide injunction issued by a district court that

barred enforcement of an Executive Order preventing “sanctuary jurisdictions”

from receiving federal grants. 897 F.3d at 1231. The court of appeals observed

that the tendered evidence in support of injunctive relief was limited to the effect

of the Executive Order on the State of California and two counties within the

State. Id. at 1244. Consequently, the court vacated the injunction to the extent it

applied outside California and remanded to the district court for further

consideration of whether a nationwide injunction was justified. Id. at 1245; see

also E. Bay Sanctuary Covenant v. Barr, 934 F.3d 1026, 1029, 1031 (9th Cir.

2020) (vacating nationwide injunction because the limited record did not justify

it); Los Angeles Haven Hospice v. Sebelius, 638 F.3d 644, 665 (9th Cir. 2011)

(vacating nationwide injunction and remanding for entry of injunction that is no

broader and no more burdensome than necessary to provide complete relief to the

plaintiff).

       The evidentiary record submitted by FSEEE is not sufficient to support the

overbroad prohibitory injunction it seeks. FSEEE seeks to “enjoin aerial

application of retardants into [waters] unless and until the Forest Service has a

legal NPDES permit to do so.” FSEEE Brief at 9. As discussed, FSEEE presented

evidence of harm only from discharges of fire retardant to Sespe Creek. The

geographic scope of the harm established by the evidentiary record in this case

                                         19
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 24 of 34



does not extend beyond one creek in southern California. And those allegations—

which are neither balanced against the public interest in wildfire management nor

measured against the legal standard for "irreparable harm"—are insufficient

grounds for an injunction to Sespe Creek itself, to say nothing of the national

injunction FSEEE seeks.5

      Another reason why the Court should not enter a nationwide or other broad

injunction in the context of fire retardant discharges is that the balance of

hardships and public interest implicate many parties and their interests that are not

before this Court. For example, some water bodies may be adjacent to human

development or valued non-aquatic resources, such as a stand of old-growth

redwood trees, where greater hardships arise from a prohibition on use of aerially

discharged fire retardant. Nationwide injunctions are discouraged when they

preclude citizens in other geographic locations from litigating the balance of

hardships and the public interest associated with the use of fire retardant. See

Azar, 911 F.3d at 583–84. That would be the case here, where the requested

nationwide injunction could seriously affect parties not presently before this Court

and their equities.




5
       Indeed, FSEEE offered no evidence that it is harmed by any Forest Service
activities in Montana.
                                      20
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 25 of 34



      In addition to presenting evidence to support the broad geographic scope of

the injunction FSEEE seeks, FSEEE must also present evidence that it has

standing to obtain this remedy. The plaintiff must demonstrate Article III standing

“for each form of relief that is sought.” Town of Chester, 137 S. Ct. at 1650.

      As discussed above, FSEEE presented evidence of harm only from

discharges of fire retardant to the Sespe Creek. FSEEE did not demonstrate the

requisite concrete and particularized injury to establish standing for a nationwide

injunction.

      D. Even if FSEEE Had Shown Potential Entitlement to an Injunction,
         Summary Judgment Should Be Denied Because the Nature and
         Scope of Appropriate Relief Turns on Genuinely Disputed Material
         Facts.

      FSEEE, like the plaintiffs in Barcelo-Romero, seeks an order that enjoins

discharges into waters of the United States prior to obtaining a NPDES permit. In

this case, FSEEE goes even further because the requested injunction would apply

without geographic limitation. The Forest Service disputes FSEEE’s apparent

position that the balance of hardships supports the injunction FSEEE seeks. The

Forest Service also disputes that the public interest favors an injunction. The

parties’ dispute over facts material to the injunction that FSEEE seeks precludes

entry of summary judgment at this stage, under well-settled rules applicable to

resolving claims on summary judgment.

      Initially, the Forest Service disputes FSEEE’s proposal to tie the duration of

                                         21
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 26 of 34



the prohibition on discharge of fire retardant to waters to the ability of the Forest

Service to obtain individual or general NPDES permits. This proposal ignores the

real world, practical aspects of obtaining Clean Water Act permits for the

discharge of fire retardant. The Forest Service cannot obtain individual NPDES

permit coverage for the discharge of fire retardant to waters because the Forest

Service does not have sufficient advance notice of its need for each discharge of

fire retardant. Perez Decl, Ex. C, ¶ 21; Kloss Decl., Ex. A, ¶ 6. The Forest Service

cannot know in advance when it will be required to discharge fire retardant into

waters, the location of the receiving waters, the quantity to be discharged into

waters, any threatened or endangered species present, and similar facts required to

apply for an individual permit. Perez Decl, Ex. C, ¶ 21. Moreover, by the time

any individual permit would be drafted, public comment solicited, and a final

permit issued, the need for the discharge of retardant into the specifically identified

waters will almost certainly have passed. Id.

      For this reason, the Forest Service will need to obtain a general NPDES

permit from EPA and the 47 States authorized to implement the NPDES program

in its jurisdiction. In January 2023, the Forest Service requested that EPA develop

a general permit for the discharge of fire retardant into waters of the United States.

Perez Decl., Ex. C, ¶ 20. EPA intends to propose such a general permit. Kloss

Decl., Ex. A, ¶ 6.

                                          22
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 27 of 34



      The issuance of an EPA general permit will likely require approximately two

and a half years. Id. ¶¶ 14, 35. The development of a general permit for fire

retardant discharges will require the acquisition of significant information

regarding fire retardant, its uses, existing practices, and its impacts to waters. Id. ¶

15. EPA must identify the types of retardants and applications that require permit

coverage, and it must develop permit conditions, including effluent limitations,

sufficient to meet Clean Water Act requirements. Id. ¶¶ 17–20. EPA must give

public notice of a draft general permit, provide an opportunity for public comment,

and respond to those public comments prior to issuing the permit. Id. ¶¶ 24–25.

EPA must consult with outside parties to develop permit conditions that meet

several state, tribal, and federal requirements, including the Endangered Species

Act, the Coastal Zone Management Act, and the National Historic Preservation

Act. Id. ¶¶ 29–32, 34. EPA also plans to work with nonfederal permitting

authorities to assist them in developing their own NPDES general permits. Id. ¶¶

8, 35. EPA estimates that this administrative process—involving development,

proposal, and issuance of general permits—will take approximately two and a half

years, and is dependent on timely actions by outside parties.6 Id. ¶¶ 14, 35.


6
      Because EPA will be the lead agency on developing a general permit, an
EPA employee provided a declaration to describe the anticipated process. FSEEE
has not brought any claim against EPA and has not sought relief against EPA, and
no subject matter jurisdiction exists to order any relief against EPA in this case.

                                           23
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 28 of 34



      The Forest Service also disputes FSEEE’s implicit factual position that any

hardship to the Forest Service or public lands during the years prior to issuance of

NPDES permits is outweighed by the potential harm to aquatic species. Twenty-

three intrusions of fire retardant into waters from 2012 to 2019 occurred only after

the Forest Service determined that human life or public safety was threatened and

retardant use could reasonably be expected to help alleviate those serious threats.

Conway Decl., Ex. D, ¶ 8. In some of the situations, Forest Service discharged fire

retardant into waters to alleviate threats to human life, including firefighters.

Declaration of Brian D. Sexton, Exhibit E, ¶ 5; Robertson Decl., Ex. B, ¶ 14. This

evidence presented by the Forest Service raises genuine disputes regarding whether

the hardship of a prohibition on the discharge of fire retardant to waters to fight

fires to protect human life or public safety is outweighed by potential harm to

aquatic species by the limited discharge of fire retardant to waters.

      The Howard fire, which resulted in the discharges of fire retardant to Sespe

Creek identified in Mr. Deneen’s declaration, illustrates the disputes regarding the

balance of hardships. Some of the discharges of fire retardant to waters at the

Howard fire were authorized under the exception for protecting human life and

public safety. Sexton Decl., Ex. E, ¶ 5. When the fire started, seven hikers were in

the national forest in the Sespe Creek drainage and were in danger. Id. A

helicopter diverted from a water dropping assignment to rescue the hikers. Id. The

                                          24
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 29 of 34



Forest Service directed air tankers to drop retardant directly on the fire edge on the

left flank of the fire to create a buffer between the hikers and the fire. Id. The

direct attack with the retardant took the retardant line into Sespe Creek. Id. The

use of fire retardant in this situation had a direct impact on the successful

evacuation of the hikers. Id.

      A prohibition on accidental discharges of retardant to waters will also impair

firefighting capabilities. The only way to prevent entirely accidental discharges of

retardant to waters is to prohibit its use entirely. Perez Decl., Ex. C, ¶ 17. Waters

of the United States are found in every National Forest. Although the Forest

Service makes best efforts to avoid discharges to those waters, see Robertson

Decl., Ex. B, ¶ 13, accidents happen. The Forest Service disputes, as a matter of

fact, that the balance of hardships favors a prohibition on accidental discharges of

fire retardant to waters, where such a prohibition likely would be tantamount to a

complete ban of aerial discharges of retardant. Perez Decl., Ex. C, ¶ 17.

      The Forest Service also disputes FSEEE’s implicit contention that the

discharges of fire retardant at issue are not in the public interest. Discharges of fire

retardant into waters occur as a consequence of the Forest Service’s efforts to fight

fires that can endanger human life and safety; can destroy private property,

including homes and businesses; and can impact public lands, terrestrial animals,

and other natural resources. Id. ¶¶ 3, 17. These efforts further the public interest.

                                          25
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 30 of 34



The protection of aquatic species is also in the public interest and the Forest

Service strives to protect aquatic resources through implementation of the 2011

Record of Decision. Conway Decl., Ex. D, ¶ 10. But a prohibition on the use of

fire retardant may not in every case favor the public interest in protecting these

species.

      FSEEE’s requested injunction would improperly resolve these issues of fact

in a “one size fits all” manner and would disregard the facts and circumstances of

each discharge. For example, absent an aerial discharge of fire retardant, an

uncontrolled wildfire can adversely impact the habitat of aquatic species and cause

harm. See Conway Decl., Ex. D, ¶ 16. The Forest Service’s analysis of

comparative risks of uncontrolled wildfires and the use of retardants found that the

immediate effects of uncontrolled wildfire included increased water temperature,

altered water chemistry, and increased sediment suspension. Id. ¶ 16. The Forest

Service’s evidence addressing the public interest raises genuine disputes as to

material facts regarding the set of comparative risks and benefits of each

application of retardant.

      The Forest Service also disputes as a factual matter the only quantitative

evidence FSEEE cites to establish harm to aquatic species. FSEEE asserts that

there were “138 intrusions into threatened or endangered species habitat that

required consultation for [National Oceanic and Atmospheric Administration]

                                          26
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 31 of 34



species.” FSEEE Brief at 8. However, the 138 figure represents the total “number

of fires with intrusions” for the years 2012–2019 on Forest Service units that have

species under the jurisdiction of NOAA Fisheries. Doc. 8-7 at 111 of 212. The

138 identified fires with intrusions are a much broader category than the much

smaller number of discharges to waters that could affect aquatic species in NOAA

fisheries. There were only 24 intrusions into aquatic habitat of NOAA Fisheries

managed species. Conway Decl., Ex. D, ¶ 9. Therefore, during the 2012–19

period, intrusions that potentially could have adversely affected NOAA Fisheries

managed species averaged three per year, not the 17 per year calculated by FSEEE.

See FSEEE Brief at 8.

      In addition, the Forest Service disputes the extent and likelihood of adverse

effects to aquatic species attributable to discharged fire retardant. Recent studies

show that intrusions may have an adverse effect on aquatic species, lethal

intrusions of retardant are expected to be extremely rare, and the majority of

effects, if they occur, are assumed to be sub-lethal or indirect. Conway Decl., Ex.

D, ¶ 14; see id. ¶ 13.

      In sum, the Court should deny summary judgment on FSEEE’s requested

prohibitory injunction because, among other reasons, genuine issues of material

fact exist regarding the balance of hardships and the public interest.




                                          27
       Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 32 of 34



                                CONCLUSION

      For the foregoing reasons, the Court should deny FSEEE’s motion for

summary judgment. The Court should set an evidentiary hearing to address an

appropriate remedy for any Clean Water Act violations that FSEEE has standing to

challenge.

      Respectfully submitted this 17th day of February 2023.


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                                       28
         Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 33 of 34




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                                              Dated: February 17, 2023




                                         29
      Case 9:22-cv-00168-DLC Document 11 Filed 02/17/23 Page 34 of 34




                       CERTIFICATE OF SERVICE

I hereby certify that on February 17, 2023, I filed the foregoing Defendant’s
Response to Plaintiff’s Motion for Summary Judgment using the CM/ECF system,
which will send notification of such filing to counsel of record:


                                          /s/ Alan D. Greenberg
                                          ALAN D. GREENBERG




                                     30
